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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,                       No. 1:22-mj-336

v.                                             HON. RAY KENT
                                               U.S. Magistrate Judge
JOSHUA BRERETON,

              Defendant.
___________________________________ /

                                 NOTICE OF APPEARANCE

       The undersigned counsel enter their appearance for the United States in the above

captioned case.

                                               Respectfully submitted,

                                               MARK A. TOTTEN
                                               United States Attorney



Date: August 4, 2022
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